Fill ia this information to identify your case:

Debtor 4 ROY SCOTT MCKAGUE

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Western District of Washington
Case number 19-4106

(lf known}

 

 

Official Form 427
Cover Sheet for Reaffirmation Agreement 12415

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

Explain the Repayment Terms of the Reaffirmation Agreement

1. Who is the creditor? KITSAP CREDIT UNION

Name of the creditor

 

 

2. How much is the debt? =n the date that the bankruptcy case is filed $ 15,153.95

To be paid under the reaffirmation agreement $ 15,153.95

$218.18 per month for 85 months (if fixed interest rate)

 

3. What is the Annual
Percentage Rate (APR)
of interest? (See
Bankruptcy Code Under the reaffirmation agreement 5.49 % Gf Fixed rate

§ 524(k)(3)(E).) [4 Adjustable rate

Before the bankruptcy case was filed 5.49 »

 

4. Does collateral secure No

hi
the debt? i Yes. Describe the collateral. 2013 HONDA CIVIC

 

 

Current market value $ 11,325.00
5. Does the creditor assert w
. No
that the debt is
nondischargeable? QO) Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.
6. Using information from Income and expenses raported on Schedules | and J Income and expenses stated on the reaffirmation agreement

Schedule f: Your Income

(Official Form 1061) and ; ANS ’
Sehedule J: Your 6a. Combined monthly income from g | all 6e. Monthly income from all sources $ LAY L )

Expenses (Official Farm line 12 of Schedule | after payroll deductions
106}, fill in the amounts.

6b. Monthly expenses from line 22c of __ $ He Fs. a 6f. Monthly expenses —$ i %

Schedule J

6c. Monthly payments on all — 3 @ 6g. Monthly payments on all —$§ ds
reaffirmed debts not listed on reaffirmed debts not included in
Schedule J monthly expenses

6d. Scheduted net monthly income $ A OD 6h. Present net monthly income $ AS. OO
Subtract lines 6b and 6c from Ga. Subtract lines 6f and 6g from Ge.
If the total is less than 0, put the If the total is less than 0, put the
number in brackets. number in brackets.

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement , page 1

 

 

 

 
 
Debtor 1 ROY SCOTT MCKAGUE Case number crknown), 1 9-41 061

 

 

First Name Middle Neme Last Name

 

7, Are the income amounts 4 No

 

 

 

on lines 6a and 66 LI} Yes. Explain why they are different and complete line 10.
different?

8. Are the expense [No
amounts on lines 6b U) Yes. Explain why they are different and complete line 10.

 

and 6f different?

 

2.

 

9. Is the net monthly no
income in line 6h less LJ Yas. A presumption of hardship arises (unless the creditor is a credit union).
than 07 Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.

Complete line 10.

 

 

 

10. Debtor's certification

about lines 7-9 | certify that each explanation on lines 7-9 is true and correct.

lf any answer on lines 7-9 is
Yes, the debtor must sign

here, x x

If all the answers on lines 7-9 Signature of Debtor 1 Signature of Debtor 2 (Spouse Only in a Joint Case)
ate No, go to line 11.

 

 

+1. Did an attorney represent LIN
¥

the debtor in negotiating ‘es. Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
the reaffirmation

agreement? a
Yes

 

 

 

. Ea Sign Here

Whoever fills out this form | certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
must sign here. parties identified on this Cover Sheet for Reaffirmation Agreement.

x vw 65/201 2014

 

 

Signature eee * MM /DD/YYYY
Nikki Rio

Printed Name

Check one:

ae or Debtor's Attorney
Creditor or Creditors Attorney

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page 2
 

 
Form 2400A (12/15)

 

k one.
Presumption of Undue Hardship

No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part I below, to determine which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT

Western District of Washington
ROY SCOTT MCKAGUE
In re ; Case No. 19-41061

Debtor
Chapter 7

REAFFIRMATION DOCUMENTS

Name of Creditor: KITSAP CREDIT UNION

 

Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A, Brief description of the original agreement being reaffirmed: AUTO LOAN

For example, auto loan

 

B. AMOUNT REAFFIRMED. $ 15,153.95

 

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising on or before 04/08/2019 ,
which is the date of the Disclosure Statement portion of this form (Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 5.4900 %.
See definition of “Annual Percentage Rate” in Part V, Section C below.

This is a (check one) Fixed rate Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.
Form 2400A, Reaffirmation Documents Page 2

D. Reaffirmation Agreement Repayment Terms (check and complete one):
$218.19 permonthfor 85 months starting on 04/18/2019.

[ ] Describe repayment terms, including whether future payment amount(s) may be different from
the initial payment amount.

E. Describe the collateral, if any, securing the debt:

Description: 2013 HONDA CIVIC
Current Market Value $ 11,325.00

 

 

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
Yes. What was the purchase price for the collateral? $ 15,153.95
No. What was the amount of the original loan? $

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

Terms as of the Terms After

Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $ 15,153.95 $ 15,153.95
Annual Percentage Rate 5.4900 % 5.4900 %
Monthly Payment $ 218.19 $ 218.19

H.| | Check this box if the creditor is agreeing to provide you with additional future credit in connection with
" this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PARTI. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

Check one. Yes [| No

B. Is the creditor a credit union?

Check one. Lv Ives No

 
 

 

 
 
 
 

   
Form 2400A, Reaffirmation Documents Page 3

C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.
1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions ;
(take-home pay plus any other income) $ IAL-0O

b. Monthly expenses (including all reaffirmed debts except oe

this one) $ WY BR

c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ Ml] 4

d. Amount of monthly payment required for this reaffirmed debt S$ RB“ 1

If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available to
pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardship.”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

[] You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

[| You can afford to make the payments on the reaffirmed debt even though your monthly income

is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”

 
 

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Form 2400A, Reaffirmation Documents Page 4

PART II. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
Thereby certify that:
(1) I agree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation
Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V
below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part IT above) is true and
complete;

(4) I am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both;debtors must sign.):
Date O5~QO6-20O\% — Signature “foye 9 We! Bt hia

DebtoF
Date Signature

 

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:

 

 

 

 

Creditor KITSAP CREDIT UNION PO BOX $990 BREMERTON, WA 98337
Print Name Address
Nikki io We awe oe lop
Print Name of Representative Signature Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement.

[Ja presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page I and the creditor is not a Credit
Union.

Date “#-{{-{4 Signature of Debtor’s Attorney

Print Name of Debtor’s Attorney Glleq, Ann” Ero)

 

 

 
 

 

 
Form 2400A, Reaffirmation Documents Page §

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A.

DISCLOSURE STATEMENT

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A ‘“‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. If the collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines.

How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.

 
 

 
Form 2400A, Reaifirmation Documents Page 6

6.

When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. Ifthe
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

il. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
is filed with the court.

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,

deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

INSTRUCTIONS

Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

if you are not represented by an attorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form 2400B to do this.
 

 

 

 
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Form 2400A, Reaffirmation Documents Page 7

C.

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure. You should consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure.

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many of the creditor’s fees and charges. You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers
were signed or on the monthly statements sent to you for an open end credit account such as a credit
card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(v). It is owned
and controlled by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U.” or “F.C.U.” in its name.
 

 
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LAW asa-eps-It WIS v? Page 3013

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May.

 

9.2019 12:45PM Law Offices No. 1508
OTHER IMPORTANT AGREEMENTS +
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any Order we choose. .

c. How lale, payments or early payments change
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page 1 of While ceniract on the azsumpllen thal you will
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YOUR OTHER PROMISES TO US

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37 OF THIS INSURANCE MAY BE ADDED TO

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IF YOU PAY.LATE'OR BREAK YOUR OTHEA PROMISES

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vehicle, we may slore them for yeu at your aupanss. Ef
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them as the lew allows,

6 How you can get.the vehicle back If we take Ht, If
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Customer
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Original Loan Amount
Lien Type

Received On
2019-05-29 02:41:53.0

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Address

Vehicle Type
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Title Number

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Lien Expiration Date

Name

Address
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Title State
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Lien and Title Information Report
2964-Kitsap Credit Union

 

MC KAGUE,ROY SCOTT VIN

2964 Organization Name
03/05/2019 Lien End

$0.00 Lien Balance Amount

Retail Dealer ID

Last ELT Transactions
Change Information
Borrower / Lesee Details
MC KAGUE,ROY SCOTT
SONIA A PAMUK]

1622 ADAMS ST,SHELTON WA,98584-3004

Vehicle Information |

Auto Make
CIVIC SDN Year
61494

   

Title Information

BNWo0039 Title State
BNW0039 VIN
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Media Type
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PAMUKI,SONIA ANN
1622 ADAMS ST,SHELTON WA,985843004
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Kitsap Credit Union
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